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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                   1/11/2021


  Senkevich.,

                          Plaintiffs,
                                                                                19-cv-8509 (AJN)
                  –v–
                                                                                     ORDER
  Equifax Information Services, LLC, et al.,

                          Defendant.



ALISON J. NATHAN, District Judge:

       The parties are hereby ordered to submit a brief joint letter on or before January 15, 2021

updating the Court on the status of the parties’ arbitration efforts.



       SO ORDERED.

 Dated: January 7, 2021
        New York, New York                         ____________________________________
                                                             ALISON J. NATHAN
                                                           United States District Judge
